Case 4:16-cv-01414 Document 673 Filed on 10/21/19 in Peel lgoovaletep

United States Courts
Southern District of Texas

FILED

OCT 21 2019

RESPONSE TO David J. Bradley, Clerk of Court

MEMORANDUM AND OPINION PRELIMINARILY APPROVING THE PROPOSED CONSENT
DECREE AND SETTLEMENT AGREEMENT AND APPROVING AND DIRECTING ISSUANCE OF
CLASS NOTICE

My name is Doug Smith, and while I am not one of the amici’s listed on pages 6 and 7 of subject
agreement, I am an individual citizen who has concerns about the agreement and if possible, I would like
to appear at the hearing on October 25 to voice my concems, because | think citizens should be heard, in
addition to all of the amicis.

In addition to not being an amici, [am also not an attorney. [ am sure there are legal forms that should be
used in this case, but I only learned about this last Wednesday and since responses must be submitted on
Monday, this is only option I have, and I hope it can be accepted.

Let me say at the beginning, I am in favor of bail reform. As a person who has had personal experience in
helping relatives with bail, there is no question in my mind that the prior system was too punitive.
Languishing in jail for a minor offense and not begin able to “make bail” leads to many lives being
ruined. It leads to people pleading guilty to an offence that may be questionable, in order to eliminate the
possibility of losing their jobs, cars and a place to live. Once you have a criminal record, finding a job or
place to live becomes very difficult.

A great example of improved criminal procedures is the marijuana diversion program instituted by Harris
County District Attorney Kim Ogg, where thousands of people have completed the diversion program and
eliminated having a criminal offence in their records.

1 am an officer in the Alief Super Neighborhood Council and as such, attend monthly meetings where the
local Houston Police Captain presents a report on crime statistics and shares additional information
relating to these statistics. 1 also attend monthly PIP meetings at the local police headquarters where
additional information is shared with interested citizens.

One of the issues I have repeatedly heard at these meetings is that officers are arresting criminals, only to
have them released on a personal recognizance bond to return to the neighborhood and commit another
crime, and be released again on another bond. This has happened for some offenders many times.

Why can’t the agreement being considered contain a provision that no bond will be allowed if the
offender is already out on a bond when the crime is committed? Page 2 of the agreement speaks to
“implement the relief sought by requiring policies and practices designed to protect the safety of the
community” Arresting the same person multiple times requires extensive police time to complete the
required paper work and transport the arrestee to jail, and it is definitely a threat to the safety of the
community when this happens, since the officers could be focused on other crime issues. A change to “no
bond” if the arrestee is already out on a bond would go a long way in correcting this issue.

 

 

 
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Page 10 in the 3“ paragraph states that a warrant can be issued only if the judge finds that the arrestee had
actual notice of the hearing and that there was no good cause for failing to appear. From my experience
having received traffic tickets, the date set for a court appearance is on the ticket, and I would assume the
atrestees in question would receive similar information, making this provision moot.

On page 26 the statement is made that “The proposed consent decree’s representation requirement and
policies are designed to increase court appearances and to protect misdemeanor arrestees from arbitrary
wealth-based detention.” I fail to understand how this can be the case, particularly the increase in court
appearances.

On page 29 the statement is made that: “ The court found no “reasonable basis for [the] belief that for
misdemeanor defendants, release on secured money bail provides incentives for, or produces, better
pretrial behavior than release on unsecured or nonfinancial conditions.” I found this a surprising
statement, and in checking with people in the bonding business, the failure to show for scheduled court
dates under the old system was approximately 16%, while under the new system the failure to show rate
approximately 49%, a 200% increase.

Please contact me if there will be an opportunity for me to appear on the 25".

Respectfully Submitted

Doug Smith

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